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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:08-cr-00012-MP-AK

AMANDA YVONNE WHITE and
EMMA MARIE MENA,

      Defendants.
___________________________/

                                           ORDER

       This matter is before the Court on Docs. 92 and 93, Motions to Provide Travel and

Subsistence Expenses for Ms. White and Ms. Mena. Pursuant to 18 U.S.C. § 4285, the Court

finds that the interests of justice would be served by furnishing travel expenses and subsistence

expenses to Ms. Mena and Ms. White for the purposes of traveling to Gainesville to meet with

their attorney and to appear in Court. Additionally, the Court finds that the defendants are

financially unable to provide the necessary transportation to appear before the required court on

their own.

       Accordingly, the Court hereby directs the U.S. Marshal to arrange and pay for, in

advance, Ms. Mena's flight from Phoenix, AZ, on March 18, 2009, and return flight on March

20, 2009. Ms. Mena will be available for travel no earlier than 11:30 a.m. on March 20, 2009.

The U.S. Marshal shall also furnish Ms. Mena, in advance, with an amount of money for

subsistence expenses, not to exceed the amount authorized as a per diem allowance for travel

under Section 5702 (a) of Title 5, United States Code. Ms. Mena is directed to call the U.S.

Marshal in Phoenix, AZ to make arraignments to pick up her per diem check and fill out some

paperwork.
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        With regard to Ms. White, the U.S. Marshall shall, in its discretion, determine the most

feasible method of transporting Ms. White from Gainesville, GA, to Gainesville, FL. If the U.S.

Marshal determines that Ms. White should travel by automobile, then the U.S. Marshal shall

furnish to Ms. White, in advance, the costs of traveling via automobile back and forth to

Gainesville, FL. If the U.S. Marshall determines that Ms. White should travel by airplane, then

the U.S. Marshal shall arrange and pay for, in advance, Ms. White’s flight. Ms. White will

depart home on March 18, 2009, arriving in Gainesville, FL, on the same day. She will return to

Gainesville, GA, on March 20, 2009, after her court appearance. She will be available for travel

no earlier than 11:30 a.m. on March 20, 2009. The U.S. Marshal shall also furnish Ms. White, in

advance, with an amount of money for subsistence expenses, not to exceed the amount

authorized as a per diem allowance for travel under Section 5702 (a) of Title 5, United States

Code. Ms. White is directed to contact the U.S. Marshal in Gainesville, GA, to arrange for

picking up her per diam check and fill out some paperwork. If Ms. White is traveling by

automobile, she should also pick up her mileage checks.

        All the above expenses shall be paid by the Marshal out of funds authorized by the

Attorney General for such expenses.



        DONE AND ORDERED this            9th day of March, 2009


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge




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